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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                           MEMORANDUM
                 -against-
                                                                           19 Cr. 856 (KMK)
MARTIN DEJESUS REYES MARIA,

                                   Defendant.
-------------------------------------------------------------X

TO:     KENNETH M. KARAS, UNITED STATES DISTRICT JUDGE

        Please find attached a transcript of the November 12, 2020 plea allocution over which I

presided, setting forth my Report and Recommendation to you. Please let me know if I can be of

further assistance.


Dated: December 30, 2020
       White Plains, New York
                                                             Respectfully submitted,

                                                             ___________________________________
                                                             ANDREW E. KRAUSE
                                                             United States Magistrate Judge
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December 30, 2020

       This transcript represents my Report and Recommendation to the Honorable Kenneth M.

Karas, United States District Judge.


                                                SO ORDERED.



                                                ANDREW E. KRAUSE
                                                United States Magistrate Judge
